Case 1:19-cv-17083-JHR-AMD Document 26-3 Filed 04/07/20 Page 1 of 11 PageID: 127
Case 1:19-cv-17083-JHR-AMD Document 26-3 Filed 04/07/20 Page 2 of 11 PageID: 128
Case 1:19-cv-17083-JHR-AMD Document 26-3 Filed 04/07/20 Page 3 of 11 PageID: 129
                                REDACTED
Case 1:19-cv-17083-JHR-AMD Document 26-3 Filed 04/07/20 Page 4 of 11 PageID: 130
                                REDACTED
Case 1:19-cv-17083-JHR-AMD Document 26-3 Filed 04/07/20 Page 5 of 11 PageID: 131
Case 1:19-cv-17083-JHR-AMD Document 26-3 Filed 04/07/20 Page 6 of 11 PageID: 132
Case 1:19-cv-17083-JHR-AMD Document 26-3 Filed 04/07/20 Page 7 of 11 PageID: 133
Case 1:19-cv-17083-JHR-AMD Document 26-3 Filed 04/07/20 Page 8 of 11 PageID: 134
Case 1:19-cv-17083-JHR-AMD Document 26-3 Filed 04/07/20 Page 9 of 11 PageID: 135
Case 1:19-cv-17083-JHR-AMD Document 26-3 Filed 04/07/20 Page 10 of 11 PageID: 136
Case 1:19-cv-17083-JHR-AMD Document 26-3 Filed 04/07/20 Page 11 of 11 PageID: 137
